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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

ALICIA FIELDS and                              §
KATHERINE SARIGUMBA                            §
Individually and on Behalf of all others       §
similarly situated,                            §
                                               §      CIVIL ACTION NO. 8:23-cv-1809
       Plaintiffs,                             §
                                               §
vs.                                            §
                                               §
LEADING EDGE                                   §
CONNECTIONS, LLC                               §
                                               §
       Defendant.                              §

                            COLLECTIVE ACTION COMPLAINT

       Plaintiffs Alicia Fields and Katherine Sarigumba (“Plaintiffs”), on behalf of themselves

and all others similarly situated, file this Collective Action Complaint (“Complaint”), as follows:

                             I.     PRELIMINARY STATEMENT

       1.      Leading Edge Connections, LLC (“Defendant” or “LEC”) is an employer of

Plaintiffs and others similarly situated. Alicia Fields has worked for LEC since August of 2022

and remains employed with LEC as of the filing of this Complaint. Katherine Sarigumba has

worked for LEC from March of 2022 and remains employed with LEC as of the filing of this

Complaint. While employed as customer service representatives by LEC, Plaintiffs have been

misclassified as independent contractors, despite the fact that they work full time for LEC, and

virtually every aspect of their job is controlled by LEC. LEC misclassified Plaintiffs and other

customer service representatives as independent contractors to avoid paying employment taxes,

benefits and overtime. During their time with LEC, Plaintiffs have routinely worked more than 40

hours per week. Plaintiffs received “straight time” (i.e. a flat hourly rate) regardless of the number

of hours they worked in a given week, and never received time-and-a-half for hours they work

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above forty in a week. On information and belief, there are a large number of customer service

representatives working for LEC, all of whom: (1) have worked more than forty hours in a week,

(2) are classified as independent contractors and (3) are paid straight time and denied overtime

pay.

       2.      Plaintiffs, on behalf of themselves and all others similarly situated, bring this

collective action to recover overtime compensation and all other available remedies under the Fair

Labor Standards Act of 1938, as amended, 29 U.S.C. 201 et. seq. (the “FLSA”).

       3.      The class of similarly situated employees sought to be certified as a collective

action under the FLSA is defined as:

               ALL CUSTOMER SERVICE REPRESENTATIVES (OR
               OTHER POSITIONS WITH SIMILAR JOB TITLES OR JOB
               DUTIES) DURING THE PAST 3 YEARS WHO WERE
               CLASSIFIED AS INDEPENDENT CONTRACTORS AND
               PAID STRAIGHT TIME FOR ALL HOURS WORKED (THE
               “FLSA COLLECTIVE MEMBERS”).

       4.      For at least three years prior to the filing of this Complaint, Defendant willfully

violated the FLSA by failing to pay these employees for overtime hours worked in excess of forty

hours per week at one-and-a-half times their regular rate of pay.

                                         II.     PARTIES

       5.      Plaintiffs are individuals - Plaintiff Alicia Fields resides in the state of Washington,

while Plaintiff Katherine Sarigumba resides in Texas. Plaintiffs’ Notices of Consent are attached

hereto as Exhibits 1 and 2.

       6.      LEC is a Florida corporation with its principal place of business in Tampa, Florida.

                              III.   JURISDICTION AND VENUE

       7.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this civil

action arises under the Constitution, laws, or treaties of the United States; specifically, the Fair


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Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et. seq. Jurisdiction is further conferred

on this Court by the provisions of 28 U.S.C. § 1337 relating to “any civil action or proceeding

arising under any Act of Congress regulating commerce...”

       8.      This Court has personal jurisdiction over LEC because it is a Florida resident. This

Court’s assertion of jurisdiction over Defendant would not offend traditional notions of fair play

and substantial justice.

       9.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to this claim occurred in this district and

division. Namely, Defendant is headquartered in Tampa, and thus the misclassification policy that

is the subject of this lawsuit was devised and implemented in this district and division.

                                      IV.     COVERAGE

       10.     At all relevant times, LEC acted, directly or indirectly, as an employer of Plaintiffs

and others similarly situated. LEC was responsible for all decisions related to the wages to be paid

to Plaintiffs and the potenttial FLSA Collective Members, the work to be performed by them, the

locations of work performed by them, the hours to be worked by them, and the compensation

policies with respect to them.

       11.     At all relevant times, Defendant has operated an enterprise within the meaning of

Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

       12.     At all relevant times, Defendant has operated an enterprise engaged in commerce

or in the production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA,

29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in commerce or in the

production of goods for commerce, or employees handling, selling, or otherwise working on goods

or materials that have been moved in or produced for commerce by any person and in that said



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enterprise has had an annual gross sales volume of sales made or business done of not less than

$500,000.

        13.     At all relevant times, Plaintiffs (and others similarly situated) were employees for

Defendant who was engaged in commerce or in the production of goods for commerce.

                               V.      FACTUAL BACKGROUND

        14.     LEC touts itself as a “cutting-edge virtual contact center.” LEC contracts with third

parties to provide customer service support to the third party client’s customers. LEC refers to the

third-party clients that it contracts with as “Verticals.”1 To provide such services, LEC hires

individuals such as Plaintiffs who work remotely at their homes. These workers, known as

customer service representatives, take calls from customers or potential customers of the Verticals

to resolve complaints, process orders, and provide information about an organization's products

and services.

        15.     On information and belief, LEC currently has hundreds of customer service

representatives working for it. LEC has classified a large number of its customer service

representatives as independent contractors over the past several years. For example, Plaintiff

Katherine Sarigumba has always been classified as an independent contractor from the time she

started in March of 2022 until the present date. However, as of April 30, 2023, LEC made the

decision to switch all of its customer service representatives from employees to independent

contractors. Plaintiff Alicia Fields was re-classified from an employee of LEC to an independent

contractor at this time, as were many other LEC customer service representatives.

        16.     Tellingly, neither the relative degree of control, the relative investment of the

parties, or any of the other factors used to assess the independent contractor/employee


1
 Some of LEC’s recent third-party clients, or Verticals, have included Universal Music; Cavender’s Boot
City; and American Well Corporation d/b/a Amwell.

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classification issue changed in any respect when Plaintiff Alicia Fields and the other customer

service representatives were re-classified from employees to independent contractors in April of

this year. In fact, the only thing that changed was that the customer service representatives such as

Ms. Fields (who were prohibited from working more than 40 hours per week when they were

classified as employees) were told that they could begin working more than 40 hours per week,

since LEC would be saving money by paying them only straight time for their overtime.

       17.     All of the factors used to assess whether Plaintiffs and the FLSA Collective

Members are independent contractors or employees support a finding of employee status. First,

LEC exerts substantial control over the FLSA Collective Members - LEC’s business model

requires it to tightly monitor Plaintiffs and the FLSA Collective Members to meet its clients’ needs.

In addition, LEC or its clients provide Plaintiffs and the FLSA Collective Members with detailed

scripts which leave them little control over how they perform their jobs. Because Plaintiffs and

other FLSA Collective Members are paid straight time, and because their hourly rate and schedules

are set by LEC, the FLSA Collective Members are not given any opportunity to share in the profit

and/or loss of their services. They are not allowed the freedom to take or reject assignments -

instead they must report to LEC’s clients as ordered by LEC. Because they work full time, they

are not allowed an opportunity to expand their business or to take on other assignments as true

independent contractors would be expected to do. Moreover, the FLSA Collective Members

perform semi-skilled labor, and are not the kind of highly-skilled workers that would typically be

classified as independent contractors. The FLSA Collective Members make minimal investments

to perform their jobs - a computer and headset, which are present in virtually every American

household in this era - and such investments pale in comparison to those made by LEC to allow

the FLSA Collective Members to perform their jobs. The FLSA Collective Members have a high



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degree of permanency with LEC - they work full time for LEC for months or years at a time.

Finally, the work performed by Plaintiffs and the FLSA Collective Members - customer service -

is a core, integral function of LEC’s business.

        18.    No exemption excuses Defendant from paying Plaintiffs and other similarly

situated FLSA Collective Members overtime rates under the FLSA.

        19.    Defendant has failed to make a good faith effort to comply with the FLSA. Instead,

Defendant knowingly, willfully or with reckless disregard carried out its illegal pattern or practice

regarding overtime compensation. Plaintiffs and those similarly situated are entitled to liquidated

damages for such conduct.

        1920. For purposes of this action, the “relevant period” is defined as such period

commencing on the date that is three years prior to the filing of this action, and continuing

thereafter.

        21.    Plaintiffs have retained the undersigned counsel to represent them and those

similarly situated in this action. Pursuant to the FLSA, Plaintiffs and those similarly situated are

entitled to recover all reasonable attorney’s fees and costs incurred in this action.

                       VI.    COLLECTIVE ACTION ALLEGATIONS

        22.    Other employees of Defendant have been victimized by the pattern, practice and

policy of Defendant. Plaintiffs are aware that the illegal practices and policies of LEC have been

imposed on other, similarly situated workers.

        23.    Plaintiffs bring their claims on behalf of all current and former FLSA Collective

Members, or similar job descriptions or titles, who worked for LEC.

        24.    Defendant’s compensation policies and procedures with respect to Plaintiffs and the

FLSA Collective Members are substantially similar, if not identical.



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       25.     Defendant’s pattern of failing to pay overtime compensation as required by the

FLSA results from Defendant’s general application of compensation policies and procedures, and

does not depend on individualized circumstances of Plaintiffs or other FLSA Collective Members.

       26.     Although the issue of damages may be individual in character, this does not detract

from the common nucleus of facts with respect to Defendant’s liability under the FLSA.

       27.     Plaintiffs file this case as a collective action as specifically allowed by 29 U.S.C. §

216(b). Plaintiffs bring these claims on their own behalf and on behalf of those similarly situated

who have not been fully compensated at the required pay rates for all work performed, time spent,

and activities conducted for the benefit of Defendant.

       28.     Plaintiffs request that Defendant identify all FLSA Collective Members, including

their names, dates of employment, job titles, last know addresses, e-mail addresses, and telephone

numbers (including mobile phone numbers) of the FLSA Collective Members, to facilitate notice

to them.

       29.     Plaintiffs seek to represent those members of the above-described group who, after

appropriate notice of their ability to opt into this action, have provided consent in writing to be

represented by Plaintiffs’ counsel as required by 29 U.S.C. § 216(b).

       30.     Plaintiffs will fairly and adequately represent and protect the interests of those

similarly situated who opt into this action.

                 VII.    CAUSE OF ACTION - VIOLATION OF THE FLSA

       31.     The foregoing allegations are incorporated herein by reference.

       32.     Plaintiffs and others similarly situated were non-exempt employees of LEC.

       33.     Plaintiffs and others similarly situated are entitled to overtime pay for all hours in

excess of forty worked during each seven-day workweek.



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        34.      LEC violated 29 U.S.C. § 201 et. seq. by willfully failing to pay Plaintiffs and

others similarly situated overtime compensation at a rate of one-and-a-half times the appropriate

regular rate.

        35.      Plaintiffs, individually and on behalf of others similarly situated, seek all unpaid

overtime compensation and an additional equal amount as liquidated damages for a period of three

years from the date of the filing of this complaint, as well as reasonable attorney’s fees, costs and

litigation expenses, including expert witness fees, as provided by 29 U.S.C. § 216(b), along with

pre- and post-judgment interest at the highest rate allowed by law.

                                VIII. DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury on all issues so triable.

                                      IX.     RELIEF SOUGHT

        WHEREFORE, Plaintiffs, on behalf of themselves and the FLSA Collective Members,

prays for relief against LEC as follows:

      A.      At the earliest possible time, Plaintiff should be allowed to give notice of this collective

              action, or the Court should issue such notice, to all Collective Action Members who

              are/were employed by Defendant during the applicable statute of limitations. Such

              notice shall inform them that this civil action has been filed, of the nature of the action,

              and of their right to join this lawsuit if they believe they were denied proper overtime

              wages;

      B.      Unpaid wages, statutory penalties and liquidated damages in the maximum amount

              allowed by 29 U.S.C. §§ 201 et seq., the supporting United States Department of Labor




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           regulations, as well as Defendant’s share of FICA, FUTA, state unemployment

           insurance and any other required employment taxes;

     C.    Pre and post-judgment interest;

     D.    A reasonable incentive award for Plaintiffs to compensate them for the time and effort

           they have spent protecting the interests of other FLSA Collective Members, and the

           risks they have undertaken;

     E.    Attorneys ’fees and costs of the action, including expert fees; and

     F.    Injunctive, equitable, or other relief as this Court deems just and proper.

Dated this 11th day of August, 2023           Respectfully submitted,
Boca Raton, FL

                                              _/s/ Alan L. Quiles__________________
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